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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION
                                                        FILED: DECEMBER 23, 2008
RACIO TADEO, Individually, and as    )                  08CV7351
Mother and Next of Friend of KEVIN   )
                                                        JUDGE PALLMEYER
MONTIEL, a minor,                    )
                                     )                  MAGISTRATE JUDGE VALDEZ
                         Plaintiffs, )                  RCC
                                     )
                    v.               )
                                     )
SILVER CROSS HOSPITAL AND            )
                                                    Formerly Case No. 08-L-373, Circuit Court
MEDICAL CENTERS, JAN SMITH, M.D., )
                                                    of Will County, Illinois
SUBURBAN OBSTETRICS &                )
GYNECOLOGY, L.L.C., NAHLA MERHI, )
M.D., ASSOCIATED RADIOLOGISTS OF )
JOLIET, S.C., and VINOD PATEL, M.D., )
                                     )
                         Defendants. )
                                     )

                 NOTICE OF REMOVAL OF A CIVIL ACTION AND
              SUBSTITUTION OF THE UNTIED STATES AS DEFENDANT

 To:     Pamela McGuire, Clerk of the Court         Matthew K. Henry
         Office of the Circuit                      Krovolec, Jambois, & Schwartz, L.L.P.
         Will County Court House                    60 West Randolph Street, 4th Floor
         14 West Jefferson Street                   Chicago, Illinois 60601
         Joliet, Illinois 60432


       The UNITED STATES, by its attorney, PATRICK J. FITZGERALD, United States Attorney

for the Northern District of Illinois, submits this notice of removal of the above-captioned civil

action from the Circuit Court of Will County, Illinois, to the United States District Court, Northern

District of Illinois, pursuant to the Federal Tort Claims Act (“FTCA”), 28 U.S.C. § 2679, and the

Federally Supported Heath Centers Assistance Act, 42 U.S.C. §233, and in support states the

following:
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        1.     On May 9, 2008, plaintiff Racio Tadeo commenced the above civil action against

Silver Cross Hospital and Medical Centers, a corporation; Jan Smith, M.D., Suburban Obstetrics &

Gynecology, L.L.C.; Nahla Mehri, M.D., Associated Radiologist of Joliet, S.C.; and Vinod Patel,

M.D., alleging medical malpractice. A copy of the state court summons and complaint is attached

as Exhibit A. For purposes of this lawsuit, Nahla Merhi, M.D., was a physician for Will County

Community Health Center (operated by the Will County Health Department), a private entity that

receives grant money from the Public Health Service pursuant to 42 U.S.C. § 233. By operation of

42 U.S.C. § 233, Will County Community Health Center is deemed to be an employee of the United

States for purposes of malpractice liability protection under the FTCA.

        2.     This notice of removal is filed in accordance with 28 U.S.C. § 2679(d) and 42 U.S.C.

§ 233 upon certification by the designee of the Attorney General of the United States that defendant

Nahla Merhi, M.D., was acting within the scope of her employment as a federal government

employee at the time of the incidents out of which the claim arose. See Certification attached as

Exhibit B.

        3.     Notice of removal may be filed without bond at any time before trial. 28 U.S.C.

§ 2679(d)(2). Trial has not yet been had in this action.

        4.     Pursuant to the Certification by the Attorney General’s designee and the filing of this

notice of removal, under 28 U.S.C. § 2679, this civil action shall be deemed an action against the

United States and the United States shall be substituted as the party defendant in lieu of Nahla Merhi,

M.D.1


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            The United States should also be substituted at a party defendant to the extent plaintiff
is alleging claims against the Will County Community Health Center, operated by the Will County
Department of Health.

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       WHEREFORE, this action now pending in the Circuit Court of Will County, Illinois is

properly removed to this court pursuant to 28 U.S.C. § 2679(d) and 42 U.S.C. § 233, and the United

States is substituted as defendant in lieu of Nahla Merhi, M.D.

                                             Respectfully submitted,

                                             PATRICK J. FITZGERALD
                                             United States Attorney

                                             By: s/ Harpreet K. Chahal
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